                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

TERRY LYNN KING,                                    )
                                                    )
         Plaintiff,                                 )      CAPITAL CASE
                                                    )
v.                                                  )      Case No. 3:18-cv-01234
                                                    )
LISA HELTON, et al.,                                )      JUDGE CAMPBELL
                                                    )
         Defendants.                                )


DONALD MIDDLEBROOKS,                                )
                                                    )
         Plaintiff,                                 )      CAPITAL CASE
                                                    )
v.                                                  )      Case No. 3:19-cv-01139
                                                    )
LISA HELTON, et al.,                                )      JUDGE CAMPBELL
                                                    )
         Defendants.                                )


                             DEFENDANTS’ STATUS UPDATE


         Pursuant to this Court’s orders (King, D.E. 227; Middlebrooks, D.E. 78), Defendants

hereby provide notice to the Court regarding the status of corrective actions to comply with the

recommendations in the Report and Findings of the Tennessee Lethal Injection Protocol

Investigation (“Report”) and Governor Lee’s directives. (Exhibit 1.)

         Governor Bill Lee has appointed Mr. Frank Strada as the new Commissioner for the

Tennessee Department of Correction (“TDOC”). Commissioner Strada has appointed Ms. Jen

Brenner as General Counsel for TDOC.

         TDOC has undertaken a review and assessment of the Report. This assessment includes a

review of applicable policies, procedures and personnel involved in the lethal injection process.


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TDOC is currently in the process of revising Tennessee’s lethal injection protocol in light of the

Report and the Governor’s directives. The revision of the protocol is a priority, and is active and

ongoing, but the Commissioner is currently not prepared to provide a date when a new lethal

injection protocol will be promulgated.

                                                            Respectfully submitted,

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                                                            Attorney General and Reporter

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                               CERTIFICATE OF SERVICE
       I certify that on May 1, 2023, a copy of the foregoing was filed and served via the Court’s

CM/ECF system on the following counsel for Middlebrooks:

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                                                            s/ Scott C. Sutherland
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